     Case 2:24-cv-00824-BRM-JBC
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               OF JASON J. REBHUN,  P.C. 29                     Filed 05/09/25       Page 1 of 1 PageID: 94

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                                                                       May 9, 2025

          Via ECF
          Honorable Brian Martinotti, U.S.D.J.
          U.S. District Court for the District of New Jersey
          Martin Luther King Building & U.S. Courthouse
          50 Walnut Street
          Newark, NJ 07101

                                Re: OTTO Times International, Ltd. v. DGL Group, Ltd. et al.
                                Civ. Action No. 2:24-cv-00824-BRM-JBC

          Dear Judge Martinotti:

                  This firm represents Defendant DGL Group Ltd. (“DGL”).

                  Together with counsel for Plaintiff, DGL respectfully requests that the Court cancel and
          terminate the call currently scheduled for Monday, May 12, 2025 at 11:30 (ECF doc. 28). The
          parties jointly advise the Court that the parties have reached an agreement and the matter which
          led to Plaintiff’s letter of April 29, 2025 (ECF doc. 27) has been resolved in principle.

                 In light of the referenced resolution, Plaintiff withdraws its request to reopen the case,
          without prejudice.

                  We thank the Court for its time and consideration.

                                                                       Respectfully submitted,

                                                                       Jason J. Rebhun

          JJR/
